                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 SHAWN SMITH,                                       )
                                                    )
                         Petitioner,                )
                                                    )             No. 3:10-CR-110
 v.                                                 )                 3:13-CV-631
                                                    )
 UNITED STATES OF AMERICA,                          )             (VARLAN / GUYTON)
                                                    )
                         Respondent.                )



                              REPORT AND RECOMMENDATION

                  This case is before the Court on Petitioner Shawn Smith’s pro se motion [Doc. 414]

 to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255. 1 Chief United States

 District Judge Thomas A. Varlan referred [Doc. 513] the matter to the undersigned for the

 appointment of counsel and for an evidentiary hearing to determine whether Petitioner timely

 requested Attorney Steven Shope file a notice of appeal on his behalf. The Court appointed [Doc.

 515] Attorney Ruth Thompson Ellis to represent the Petitioner.

                  The parties appeared before the undersigned on January 5, 2017 for an evidentiary

 hearing. The Petitioner appeared and was represented by Ms. Ellis. Assistant United States

 Attorney Tracy Stone appeared for the Government.

                  At the January 5, 2017 hearing, the Court addressed Petitioner’s Motion to

 Withdraw Claim [Doc. 534]. In the motion, Smith stated that he wanted to withdraw the claim in

 his Motion that Mr. Shope failed to file a requested appeal. The Court advised the Petitioner that

 if he withdrew that claim in his motion to vacate his sentence pursuant to § 2255, he would not be

 able to refile that claim and the claim could not be brought at a later time. Petitioner Smith stated


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            The citations are to the record in 3:10-CR-110.

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 that he understood this and agreed that he wanted to withdraw that claim. Smith then advised the

 Court that he wanted to withdraw his § 2255 Motion in its entirety. Attorney Ellis stated that she

 had not counseled Smith in this regard, as her appointment was only as to the Shope issue. The

 Court allowed Smith to make an oral Motion to Withdraw his entire § 2255 motion. Smith stated

 that he understood that he would not be able to bring any of those claims again, as they would be

 barred, if his motion was granted.

                The Court finds that the Petitioner has knowingly and voluntarily withdrawn all

 claims raised in his section 2255 motion, including his allegation that he instructed Attorney Shope

 to file a direct appeal on his behalf. Accordingly, because the Petitioner is no longer pursuing his

 section 2255 motion, the undersigned respectfully RECOMMENDS the District Judge accept

 Petitioner Smith’s Motion for withdrawal of his claim, and Smith’s oral Motion to Withdraw all

 other claims and to dismiss the section 2255 motion [Doc. 414] with prejudice. The Court also

 RECOMMENDS that no certificate of appealability issue for this case because Petitioner Smith

 is no longer pursuing his constitutional claims of the ineffective assistance of counsel. See 28

 U.S.C. § 2253(c)(2) (providing that a “certificate of appealability may issue [in a § 2255

 proceeding] only if the applicant has made a substantial showing of the denial of a constitutional

 right”). Because the Petitioner has knowingly and voluntarily withdrawn his § 2255 motion, the




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 undersigned finds that any appeal of the dismissal of his motion would be frivolous and not taken

 in good faith. 2

                                               Respectfully submitted,



                                              United States Magistrate Judge




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   Any objections to this report and recommendation must be served and filed within fourteen (14)
 days after service of a copy of this recommended disposition on the objecting party. Fed. R. Crim.
 P. 59(b)(2) (as amended). Failure to file objections within the time specified waives the right to
 review by the District Court. Fed. R. Crim. P. 59(b)(2); see United States v. Branch, 537 F.3d 582,
 587 (6th. Cir. 2008); see also Thomas v. Arn, 474 U.S. 140, 155 (1985) (providing that failure to
 file objections in compliance with the required time period waives the right to appeal the District
 Court’s order). The District Court need not provide de novo review where objections to this report
 and recommendation are frivolous, conclusive, or general. Mira v. Marshall, 806 F.2d 636, 637
 (6th Cir. 1986). Only specific objections are reserved for appellate review. Smith v. Detroit
 Federation of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).


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